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          IN THE UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF ARKANSAS
                   CENTRAL DIVISION

TIFFANY BRISTOW and JOSEPH SANDERS,
ex rel. TEENA DEJESUS                                     PLAINTIFFS

v.                       No: 4:21-cv-358-DPM

KILOLO KIJAKAZI, Acting Commissioner,
Social Security Administration                           DEFENDANT

                            JUDGMENT
     The complaint is dismissed with prejudice.



                                 D.P. Marshall Jr.
                                 United States District Judge
